         Case 1:22-cr-00070-RDM Document 43 Filed 05/17/22 Page 1 of 13



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                       :
                                                 :
                Plaintiff,                       :
                                                 :
        vs.                                      :         Cr. No. 22-0070 RDM
                                                 :
 LUCAS DENNEY,                                   :
                                                 :
                Defendant.                       :


                 UNITED STATES’ RESPONSE TO DEFENDANT’S
          PETITION FOR RELEASE OF CUSTODY PENDING SENTENCING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully responds to Defendant Lucas Denney’s Petition for

Release of Custody Pending Sentencing. ECF No. 42. Because Denney has failed to establish

exceptional reasons to support his request for release, this Court should deny Denney’s motion.

                               PROCEDURAL BACKGROUND

       On December 13, 2021, Defendant Lucas Denney was arrested in his home state of

Texas on an arrest warrant issued from the United States District Court for the District of

Columbia. Denney was charged with numerous felony violations related to his violent actions at

the Capitol on January 6, 2021, including 18 U.S.C. §§ 111(a)(1) and (b) and 2, Assaulting,

Resisting, or Impeding Certain Officers or Employees and Using a Deadly or Dangerous

Weapon or Inflicting Bodily Injury; 18 U.S.C. § 231(a)(3), Obstruction of Law Enforcement

During Civil Disorder; 18 U.S.C. § 1512(c) and (k), Obstruction of an Official Proceeding and

Conspiracy to Obstruct an Official Proceeding; 18 U.S.C. §§ 1752(a)(1), (2), (4) and (b)(1)(A),

Knowingly Entering or Remaining in any Restricted Building or Grounds with a Deadly or

Dangerous Weapon, Disorderly and Disruptive Conduct in any Restricted Building or Grounds


                                                 1
        Case 1:22-cr-00070-RDM Document 43 Filed 05/17/22 Page 2 of 13



with a Deadly or Dangerous Weapon, and Engaging in Physical Violence in any Restricted

Building or Grounds with a Deadly or Dangerous Weapon; and 40 U.S.C. § 5104(e)(2)(F),

Violent Entry and Disorderly Conduct on Capitol Grounds. ECF Nos. 1, 5.

       Denney made his initial appearance in the Western District of Texas in front of

Magistrate Judge Collis White on December 14, 2021. See Exhibit A, Criminal Docket for Case

No. 21-mj-2264 CW. On December 17, 2021, Judge White detained Denney and issued an

order of removal, as well as an order detaining Denney without bond. See Exhibit B, Order of

Removal, and Exhibit C, Order of Removal and Detention. Judge White found by “clear and

convincing evidence that [Denney] . . . poses a danger to others.” Exhibit C at 2. Denney was

thereafter transported to the District of Columbia and arrived on January 31, 2022. Exhibit D,

February 1, 2022, email correspondence from Elizabeth Oglesby.

       On March 2, 2022, Denney filed a Motion for Release from Custody arguing that no

court had conducted a preliminary hearing within 14 days of his initial appearance as required

under Federal Rule of Criminal Procedure 5.1(c). ECF No. 16. The Government filed its

response on March 3, 2022. ECF No. 21. On March 5, 2022, Denney filed an Emergency

Motion for Release from Custody and Emergency Motion to Dismiss Case, ECF No. 23, and a

related Errata Notice, ECF No. 24, arguing that the complaint should be dismissed as the

Government had failed to file an information or obtain an indictment within the 30-day time

period provided by the Speedy Trial Act, 18 U.S.C. § 3161(b).

       On March 7, 2022, however, a federal grand jury returned a one-count indictment

against Denney alleging he assaulted a federal officer with a dangerous weapon on January 6,

2021, in violation of 18 U.S.C. § 111(a) and (b). ECF No. 25. On the same day, Magistrate

Judge Zia Faruqui held a status conference related to Denney’s two motions. During the

hearing, the Court set a briefing schedule for Denney’s emergency motion that was later

                                                2
            Case 1:22-cr-00070-RDM Document 43 Filed 05/17/22 Page 3 of 13



memorialized for the parties in a March 8, 2022, minute order. Judge Faruqui also denied

Denney’s Motion for Release (ECF No. 16) as moot because the grand jury had returned an

indictment against him.

        On March 17, 2022, Denney pleaded guilty to the one-count indictment without the

benefit of a plea agreement. March 17, 2022, Minute Order. After the plea, this Court

continued Denney’s detention pending sentencing. Id. Sentencing is scheduled for July 21,

2022. May 9, 2022, Minute Order. On May 11, 2022, Denney filed the current petition

requesting release pending his sentencing in July 2022. ECF No. 42. This Court entered a

minute order on May 12, 2022, ordering the Government to respond to Denney’s petition by

May 17, 2022. Because Denney has failed to meet his burden of clearly demonstrating that

there are exceptional reasons that would justify his release pending sentencing in this matter,

the United States requests that the Court affirm Magistrate White’s decision and deny his

petition.

                LAW RELATED TO DETENTION PENDING SENTENCING

        Pursuant to 18 U.S.C. § 3143(a)(2), in relevant part, the Court “shall order that a person

who has been found guilty of an offense [that is a crime of violence] and is awaiting imposition .

. . of sentence be detained.” When, as here, a defendant pleads guilty, the mandatory detention

provision applies unless both an attorney for the United States “has recommended that no

sentence of imprisonment be imposed,” and this Court finds by clear and convincing evidence

that Denney is neither a flight risk nor a danger. See 18 U.S.C. §§ 3143(a)(2)(A)(ii), (B). And

even where both of those conditions apply, a defendant is entitled to release only where the

judicial officer further finds that there are exceptional reasons why a defendant’s detention is not

appropriate and finds clear and convincing evidence that the defendant is not a flight risk or a

danger. 18 U.S.C. § 3145(c). See United States v. Meister, 744 F.3d 1236, 1237-38 (11th Cir.

                                                 3
          Case 1:22-cr-00070-RDM Document 43 Filed 05/17/22 Page 4 of 13



2013) (holding that district court has jurisdiction to grant release pending sentencing under

Section 3145(c)). 1

                                 LAW ON EXCEPTIONAL REASONS

         A defendant bears “the burden of proof to clearly show exceptional” reasons when

seeking release pursuant to Section 3145(c). 18 U.S.C. § 3145(c); see also United States v.

Bonczek, No. CR 08-0361 PAC, 2009 WL 2924220, at *2 (S.D.N.Y. Sept. 8, 2009). In

determining what constitutes section 3145(c) exceptional reasons, courts have closely analyzed

the “only useful historical document” – a letter from the Justice Department to Senator Paul

Simon, the sponsor of the legislation, which “propos[ed] the ‘exceptional reasons’ provision and

suggest[ed] two hypothetical situations where it might apply.” See United States v. DiSomma,

951 F.2d 494, 497-98 (2d Cir. 1991) (citing Letter from Assistant Attorney General Carol T.

Crawford to Honorable Paul Simon (July 26, 1989) (“Crawford Letter”)); accord United States v.

Garcia, 340 F.3d 1013, 1016 17 (9th Cir. 2003) (same). The two examples the Crawford Letter

outlined were:

                  [F]irst, an elderly man with lifelong community ties, [who was]
                  convicted under the federal murder statute of the mercy killing of
                  his wife, challenges the applicability of that statute to mercy
                  killings, a question of first impression in the circuit. The second
                  example posited a seriously wounded drug dealer whose appeal
                  raised a novel search and seizure issue which could change the
                  outcome of his trial.

See DiSomma, 951 F.2d at 497-98.

         The Crawford Letter is set forth in full in the Garcia decision. Garcia, 340 F.3d at 1017,

n.4. The Crawford Letter suggested “that exceptional reasons exist where, due to a truly unusual




1
  As it has in prior cases, the Government continues to argue that appeal pursuant to 18 U.S.C. § 3145(c) is limited
to consideration by federal appellate judges, see United States v. Harris, 451 F.Supp.3d 64, 68 (D.D.C. 2020), but
recognizes this Court’s contrary conclusion in Harris and proceeds accordingly. Id. at 70.

                                                          4
         Case 1:22-cr-00070-RDM Document 43 Filed 05/17/22 Page 5 of 13



circumstance or combination of circumstances, it would be unreasonable, despite the general

policy favoring incarceration contained in section 3145(c), to order a particular defendant to be

incarcerated pending [sentencing or] appeal.” Id. at 1017; see also DiSomma, 951 F.2d at 497

(noting that the Crawford Letter described relief under section 3145(c) in circumstances that are

“out of the ordinary”).

       Case law interpreting Section 3145(c)’s release provision has generally adhered to the

principles forwarded in the Crawford Letter. To establish “exceptional reasons” for section

3145(c) a “court should examine the totality of the circumstances and, on the basis of that

examination, determine whether, due to any truly unusual factors or combination of factors ... it

would be unreasonable to incarcerate the defendant” pending sentencing. Garcia,340 F.3d at

1018. Indeed, the Eighth Circuit has defined “exceptional” under § 3145(c) as “clearly out of the

ordinary, uncommon, or rare.” United States v. Larue, 478 F.3d 924, 925 (8th Cir. 2007)

       Courts also generally agree that the district court is vested with “broad discretion . . . to

consider all the particular circumstances of the case before it.” Garcia, 340 F.3d at 1016-17;

DiSomma, 951 F.2d at 497; see also United States v. Wiggins, ---F.Supp.---, 2020 WL 1868891,

*6 (D.D.C. 2020).

       Despite the case-by-case evaluation that this inquiry warrants, examining what other

courts have found constitute § 3145(c) exceptional reasons is informative. For instance, courts

found that the following circumstances did not constitute § 3145(c) exceptional reasons:

   •   United States’ stipulation insufficient: In re Sealed Case, 242 F. Supp. 2d 489, 495-96

       (E.D. Mich. 2003) (dicta).

   •   Lack of criminal history, being a student, and being employed, either separately or in

       combination, insufficient: see United States v. Lea, 360 F.3d 401, 403-04 (2d Cir. 2004);

       United States v. Verbickas, 75 F. App’x 705, 706 (10th Cir. 2003) (unpublished).

                                                  5
     Case 1:22-cr-00070-RDM Document 43 Filed 05/17/22 Page 6 of 13



•   Lack of criminal history, complying with pretrial release conditions, paying child

    support, and maintaining employment, either separately or in combination, insufficient:

    see United States v. Larue, 478 F. 3d. 924, 925 (8th Cir. 2008) (per curiam); United

    States v. Little, 485 F.3d 1210, 1210-11 (8th Cir. 2007) (stating full compliance with

    pretrial release conditions and timely appearance at all court proceedings not exceptional

    reasons); United States v. Brown, 368 F.3d 992, 993 (8th Cir. 2004) (per curiam) (finding

    successful completion of substance abuse program not exceptional reason); United States

    v. Green, 250 F. Supp. 2d 1145, 1150-51 (E.D. Mo. 2003) (same).

•   Lack of criminal history, age (53), use of a wheelchair and need for a special mattress to

    avoid pain, limited ability to hear making it difficult for defendant to communicate, and

    need to care for elderly mother, either separately or in combination, insufficient: see

    United States v. Wages, 271 F. App’x 726, 727 (10th Cir. 2008); United States v. Wright,

    2009 WL 87604, at *3 (D. Utah Jan. 12, 2009) (holding family members “need for care

    due to age or infirmity not exceptional reason); United States v. Mellies, 496 F. Supp. 2d

    930, 937 (M.D. Tenn. 2007) (same).

•   Lack of potential danger to the community insufficient: see United States v. Koon, 6 F.3d

    561, 564 (9th Cir. 1993) (Rymer, J., concurring in order denying petition for rehearing en

    banc) (ruling danger to the community is a predicate condition of Section 3143(a)(1), and

    thus it does not establish an “exceptional reason,” absent some other factor else making it

    extraordinary).

•   Health conditions rarely sufficient: see Wages, 271 F. App’x at 727; United States v.

    Brown, 368 F.3d 992, 993 (8th Cir. 2004) (per curiam) (finding treatment for depression

    not exceptional); Mellies, 496 F. Supp. 2d at 936-37 (ruling ongoing extensive dental

    treatment not exceptional); United States v. Lieberman, 496 F. Supp. 2d 584 (E.D. Pa.

                                              6
         Case 1:22-cr-00070-RDM Document 43 Filed 05/17/22 Page 7 of 13



       2007) (holding availability of experimental treatment in China for paralysis resulting

       from being shot by cohort during the robbery not an exceptional reason).

   •   Nature of offense of conviction insufficient even where it might subject defendant to

       violence if detained in a local jail while awaiting assignment to a federal correctional

       institution: see Brown, 368 F.3d at 993 (defendant convicted of receiving child

       pornography); Koon, 6 F.3d at 563 (holding that even though defendants were law

       enforcement officers convicted of violating another’s civil rights under 18 U.S.C. § 242,

       “Congress created no law enforcement official exception to mandatory detention”).

   •   Voluntarily giving incriminating statements, and consenting to seizure of personal

       computer insufficient: United States v. Little, 485 F.3d 1210, 1210-11 (8th Cir. 2007);

   •   Release of co-defendants insufficient: see Verbickas, 75 F. App’x at 706 (stating

       “[w]hether the court erred in the release of other defendants does not [constitute an

       exceptional reason] . . . for release of these defendants . . . .”).

   •   Family member’s offers to house and/or supervise a defendant insufficient: see Wright,

       2009 WL 87604, at *3.

   •   Inconvenience to the United States Marshals Service in transporting defendant to/from

       court hearings insufficient: see United States v. Mostrom, 11 F.3d 93, 94 (8th Cir. 1993).

                                            ARGUMENT

       Here, Denney has pleaded guilty to assaulting a federal officer with a dangerous weapon

in violation of 18 U.S.C. § 111(a) and (b), which is a crime of violence. See United States v.

Klein, 533 F. Supp. 3d 1, 10 (D.D.C. 2021) (Bates, J.). His guilty plea to a crime of violence

entails that detention is mandatory unless the government does not recommend a term of

imprisonment and this Court concludes by clear and convincing evidence that Denney “is not

likely to flee or pose a danger to the safety of any person or the community if released.” See 18

                                                   7
          Case 1:22-cr-00070-RDM Document 43 Filed 05/17/22 Page 8 of 13



U.S.C. § 3143(a)(2) (cross-referencing 18 U.S.C. § 3142(f)(1)(A)). Because the United States is

seeking a term of imprisonment in this case, his detention pending sentencing is therefore

mandatory. As such, Denney may only be released if the Court “finds by clear and convincing

evidence that the person is not likely to flee or pose a danger to the safety of any person or the

community if released,” and that Denney “clearly show[s] that there are exceptional reasons why

[his] detention would not be appropriate.” See 18 U.S.C. §§ 3143(a)(2)(B), 3145(c). Because

Denney has not established any exceptional reasons justifying the extraordinary step of releasing

him pending sentencing, the Court should not order Denney’s release.

    I.      Denney is and Remains a Danger to the Community.

         Judge White correctly concluded before Denney’s guilty plea that no condition or

combination of conditions will reasonably assure his appearance as required and the safety of

any other person and the community. As the legislative history of the 1984 Bail Reform Act

amendments shows:

                  [T]he language referring to the safety of the community refers
                  to the danger that the defendant might engage in criminal
                  activity to the detriment of the community. The committee
                  intends that the concern about safety be given a broader
                  construction than merely danger of harm involving violence. . .
                  .

See S.Rep. No. 225, 98th Cong., 2d Sess. 307, reprinted in 1984 U.S. Code Cong. & Ad. News

3182, 3195-3196. 2


2
  To that end, it is worthwhile recalling Congress’ intent in 1984 when it enacted the current version of
the Bail Reform Act:

                  Many of the changes in the Bail Reform Act reflect the . . .
                  determination that Federal bail laws must . . . give the courts adequate
                  authority to make release decisions that give appropriate recognition to
                  the danger a person may pose to others if released. . . . The constraints
                  of the Bail Reform Act fail to grant the Courts the authority to impose
                  conditions of release geared toward assuring community safety, or the
                  authority to deny release to those defendants who pose an especially
                                                     8
         Case 1:22-cr-00070-RDM Document 43 Filed 05/17/22 Page 9 of 13



       Here, Denney is subject to mandatory detention pursuant to 18 U.S.C. §§ 3143(a)(2) as

he has pleaded guilty to a crime of violence. The evidence also clearly shows that Denney is a

danger to the community and poses a serious risk of obstruction of justice. There remains no

conditions or combination of conditions which can effectively ensure the safety of any other

person and the community.

        During the course of the January 6, 2021, siege of the U.S. Capitol, multiple law

enforcement officers were assaulted by an enormous mob, which included numerous individuals

with weapons, bulletproof vests, and pepper spray who were targeting the officers protecting the

Capitol. Additionally, the violent crowd encouraged others in the crowd to work together to

overwhelm law enforcement and gain unlawful entry into the U.S. Capitol.

        As set forth in the Complaint, Denney engaged in extensive planning in the weeks

leading up the January 6, 2021, using Facebook to recruit individuals to join his militia and to

travel with him to Washington, D.C. and to fundraise for lodging and supplies for January 6 –

including to purchase protective gear and medical supplies. He also discussed with others,

including his co-defendant, Donald Hazard, his efforts to procure weapons and protective gear in

anticipation of violence. Once at the Capitol, Denney used his knuckle-gloved fists, his feet, a

pole, metal bike racks, and a cylindrical tube to assault and interfere with law enforcement. He

engaged in repeated, unrelenting assaults on uniformed law enforcement officers protecting the




                grave risk to the safety of the community. . . . This broad base of support
                for giving judges the authority to weigh risks to community safety in
                pretrial release decisions is a reflection of the deep public concern,
                which the Committee shares, about the growing problem of crimes
                committed by persons on release.

 See S.Rep. No. 225, 98th Cong., 2d Sess. 307, reprinted in 1984 U.S. Code Cong. & Ad. News 3182,
 3486-3487. (Emphasis added.)


                                                    9
        Case 1:22-cr-00070-RDM Document 43 Filed 05/17/22 Page 10 of 13



Capitol. His actions were not the actions of a man caught up in the moment, but rather the

culmination of weeks of planning for and anticipating violence.

        Following January 6, 2021, Denney continued to engage in obstructive and dangerous

conduct. On January 9, 2021, he instructed co-defendant Hazard to “keep quite [sic] this week.”

That same day, Denney “unsent” several Facebook messages to Hazard, dating from January 5-8,

2021, resulting in their deletion. Shortly thereafter, Denney deactivated his Facebook account.

        On August 26, 2021, in a video posted to Tik Tok, Denney expressed violent anti-

government, anti-law enforcement views, stating in part: “Big shoutout to the FBI because

you’re fucking traitors. FBI, you’re on the wrong fucking side, you’re on the wrong fucking side

of this. . . . I’m calling for a military coup. . . . Go ahead and do a military coup and get this

motherfucker out of office, these communists out of office, and you need to get Trump back in

there to fix this shit.” Denney also stated that if Donald Trump were not reinstated as president,

the United States will face “World War III and a civil war all at once. The worlds fucking

blowing up. Get these motherfuckers out of office now.”

        The factors under 18 U.S.C. § 3142(g) favored detention in December 2021 and continue

to weigh in favor of Denney’s detention now, to wit: (1) the nature and circumstances of the

offense charged; (2) the weight of the evidence against the defendant; (3) the history and

characteristics of the defendant; and (4) the nature and seriousness of the danger to any person or

the community that would be posed by the defendant’s release. In this case, there is no condition

or combination of conditions that will reasonably assure the safety of the community if Denney

is released, and he must continue to be held pending the final disposition in this matter.




                                                  10
         Case 1:22-cr-00070-RDM Document 43 Filed 05/17/22 Page 11 of 13



   II.      Denney Cannot Demonstrate Exceptional Reasons to Justify His Release
            Pending Sentencing.

         In his petition, Denney appears to advance the following circumstances to support a

finding of exceptional reasons to support his release pending sentencing: (i) the absence of a

transcript from the Texas district court for the detention hearing; (ii) his pretrial detention and the

“illegal” actions of the Government; (iii) the fact that he has offered his cooperation; and (iv) the

fact that he needs to attend to his “personal affairs and family needs” before surrendering to the

Bureau of Prisons. ECF 42 at 6-7. None presents a reason for release.

         First, the absence of a transcript from the Texas court makes no difference as to whether

there are “exceptional reasons” for release. This Court reviews detention decisions de novo and

can re-hear any evidence, review new evidence, and can even hear new arguments in reaching a

detention decision. This factor is not exceptional and in fact is not relevant to this Court’s

determination of detention given its de novo review.

         Second, Denney’s pretrial detention and the timing of the filing of the indictment in this

case do not bear on the detention analysis. The Government filed a legitimate and legal

indictment to which Denney ultimately pleaded guilty. Denney cites no statutes, no rules, and no

case law to explain how the Government’s admitted errors related to Federal Rule of Criminal

Procedure 5.1 and the Speedy Trial Act somehow constitute exceptional circumstances. This is

particularly so where Denney waived those same procedural rights when he pleaded guilty to the

indictment he now claims was illegal. This factor is not exceptional and is now not relevant

given the current procedural posture of the case.

         Similarly irrelevant is the fact that Defendant has offered to cooperate with the

Government. His proffered cooperation is unhelpful to any Government investigations, is not

exceptional in any way, and is not worthy of pre-sentence release. Denney’s attempt to compare


                                                  11
         Case 1:22-cr-00070-RDM Document 43 Filed 05/17/22 Page 12 of 13



himself to three cooperating defendants in separate and distinct cases only highlights the

differences, not the similarities, between his case and the comparators. 3

          Finally, and while certainly the most sympathetic of his reasons, Denney’s personal

circumstances involving his two teenage sons fall short of anything exceptional. See United

States v. Velarde, 555 F. App’x 840 (10th Cir. 2014) (personal and family concerns are not

exceptional reasons under 18 U.S.C. § 1345(c)); United States v. Krantz, 530 F. App’x 609, 610

(8th Cir. 2013) (defendant’s three tours of duty in Iraq and Afghanistan not exceptional); United

States v. Lea, 360 F.3d 401, 403-04 (2nd Cir. 2004); United States v. Schmitt, 515 F. App’x 646,

647 (defendant’s cooperation, and his elderly parents’ needs not exceptional reasons); United

States v. Cook, 42 F. App’x 803 (6th Cir. 2002); United States v. Smith, 34 F.Supp.3d 541, 554

(W.D. Pa. 2014) (in finding that a single mother of two children who works three jobs did not

show exceptional reasons, the court stated: “Most courts agree that ‘purely personal’

circumstances do not typically rise to the level of exceptional.”); United States v. Miller, 568

F.Supp.2d 764, 777 (E.D. Ky. 2008) (family hardship does not constitute exceptional reason);

United States v. Green, 250 F.Supp.2d 1145, 1149 (E.D. Mo. 2003) (“personal reasons alone are

not exceptional reasons”); United States v. Lippold, 175 F.Supp.2d 537, 540 (S.D.N.Y. 2001)

(“personal family hardships are very common”); United States v. Rodriguez, 50 F. Supp. 2d 717,

722 (N.D. Ohio 1999) (“family hardship is not an unordinary consequence of incarceration”).

Without undermining the emotional loss Denney’s two teenage sons may feel, their father’s

absence simply does not give rise to the uncommon or rare circumstance that would support a

defendant’s release under Section 3145(c).


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  Other than an interview immediately following his arrest in December 2021, Denney has not met with any
representatives of the Government since his arrest. His attorney has indicated that Denney is not prepared to answer
questions from the Government without assurances as to how his statements may be used yet is not prepared to enter
into a standard debrief agreement meant to provide those assurances. Denney has provided some information
through his attorney; however this information was high-level and non-actionable.

                                                        12
        Case 1:22-cr-00070-RDM Document 43 Filed 05/17/22 Page 13 of 13



       In summary, there is simply nothing unusual or uncommon about the current procedural

posture of this case. Denney has chosen to plead guilty to a valid indictment and is now awaiting

sentencing on July 21st. He remains a danger to the community and, as discussed herein, he has

not offered this Court any exceptional reasons that would justify the rare circumstance of

releasing a defendant pursuant to Section 3145(c).

                                        CONCLUSION

       For the foregoing reasons, the United States respectfully requests that this Court deny the

relief sought in Denney’s Petition for Release of Custody Pending Sentencing.


                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             DC Bar No. 481052

                                              /s/ Jennifer M. Rozzoni
                                             Jennifer M. Rozzoni
                                             NM Bar No. 14703
                                             Benet J. Kearney
                                             NY Bar No. 4774048
                                             Assistant United States Attorneys
                                             555 4th Street, N.W.
                                             Washington, D.C. 20530
                                             (505) 350-6818 / (212) 637-2260
                                             Jennifer.M.Rozzoni@usdoj.gov
                                             Benet.Kearney@usdoj.gov




                                                13
